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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             )
                                                      )
                Plaintiff,                            )
                                                      )
v.                                                    )       CASE NO. 1:22-mj-00133-ZMF
                                                      )
RYAN KELLEY,                                          )
                                                      )
                Defendant.                            )
                                                      )


               ORDER GRANTING MOTION FOR ADMISSION OF ATTORNEY
               NICOLE E. SPRINGSTEAD-STOLTE TO APPEAR PRO HAC VICE

        Having reviewed the Motion for Admission of Attorney Nicole E. Springstead-Stolte Pro Hac

Vice, the Court finds that the motion should be GRANTED.

        IT IS THEREFORE ORDERED that Nicole E. Springstead-Stolte is admitted to practice

before this Court for the limited purpose of appearing in this case as attorney for Defendant Ryan Kelley.



        IT IS SO ORDERED this ____ day of _______, 2022.




                                                 ____________________________________
                                                 United States Magistrate Judge
